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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

BOB A. BRINSON,

      Petitioner,                                   Case No. 18-cv-05007
          v.                                        Hon. Robert W. Gettleman

WALTER NICHOLSON,                                   Hon. Sheila Finnegan

      Respondent.


                           NOTICE OF UNOPPOSED MOTION

       PLEASE TAKE NOTICE that on Tuesday, April 9, 2019 at 9:15 a.m. or as soon

thereafter as counsel may be heard, counsel shall appear before the Honorable Robert W.

Gettleman in courtroom 1703 at the United States Courthouse for the Northern District of

Illinois, 219 South Dearborn Street, Chicago, IL 60604, and then and there present the attached

Petitioner’s Unopposed Motion to Extend Time to File Reply.

Dated: April 3, 2019                Respectfully submitted,

                                           BOB A. BRINSON

                                           By: s/ Benjamin I. Friedman__
                                                   One of His Attorneys

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                                CERTIFICATE OF SERVICE

          The undersigned, an attorney, hereby certifies that on April 3, 2019, the foregoing

document was electronically filed, which will send a Notice of Electronic Filing to all counsel of

record.

                                                            s/ Benjamin I. Friedman




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